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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division
UNITED STATES OF AMERICA
Criminal No. 21-CR-245 (AJT)

V.

IGOR Y. DANCHENKO,

Defendant.

GOVERNMENT?’S LIST OF TRIAL WITNESSES

The Government may call the following witnesses at trial:

FBI Supervisory Special Agent Amy Anderson iol it 22.

FBI Supervisory Intelligence Analyst Brian Auten - lo] uj2Z, Iolt2| ct,
Charles Dolan {0|I3/z2

FBI Special Agent Kevin Helson 10|!3|22.

Brittany Hertzog jofi4/2z

FBI Supervisory Special Agent Ryan James 10|14[22

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Respectfully submitted,

JOHN H. DURHAM
Special Counsel

By:

/S/

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